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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER:

 Barry Rosen
                                                                     CV17-07727 PSG (JEMx)
                                               Plaintiff(s),
                            v.
 United States Government et al                                         NOTICE OF DEFICIENCY
                                                                     DEFAULT/DEFAULT JUDGMENT
                                             Defendant(s).
PLEASE TAKE NOTICE:

The Clerk cannot enter the requested Default of defendant City of Santa Monica, for the following reason(s)

G        No declaration as required by F.R.Civ.P 55(a)
G        No proof of service/waiver of service on file
G        The name of the person served does not exactly match the person named in complaint
G        Proof of Service is lacking required information
G        Waiver of Service lacking the signature of the sender and/or the person acknowledging receipt
G        Time to respond has not expired
G        Answer and/or Motion for Summary Judgment and/or Motion to Dismiss on file
G        Request for Entry of Default has been forwarded to assigned Judge
G        Party dismissed from action on
G        Case terminated on
G        Requesting party shall file a new Request/Application with noted deficiencies corrected in order to have
         default reconsidered.
X        Other: Filed prematurely. Court order dated 11/9/17, document [20], extends defendant City of Santa
         Monica’s response deadline to 11/15/18

                                                                 CLERK OF COURT

                                                                 By: Benjamin_Moss@cacd.uscourts.gov
                                                                                    Deputy Clerk




CV-52B (09/12)                   NOTICE OF DEFICIENCY - DEFAULT/DEFAULT JUDGMENT
